Case 1:Ol-cv-01209-.]DT-STA Document 58 Filed 04/28/05 Page 1 of 2 ' Page|D 71

’WO/)}; §/

IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE 054/>/??8 D.C
EASTERN DIVISION x ,y 6a
.';`/W!.§.;§;P:”f/,) o 35
srANLEY TUNE and DEBORAH :»;,§;’ <’B-“U§/ f/;@£ /.1
‘ \ i/F ' . o
TUNE, W_LMC{/?`{§g 67
Plaintiffs, m
VS. No. 01~1209-1"
KARL GUTHKE and ROBERT
LEACH,
Defendants.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Plaintiffs have moved for permission to permit Matthew D. Richardson to
participate pro h_a_c_: me on their behalf in this action. Mr. Richardson is a member in good
standing in the U. S. District Court for the Eastern District of Missouri. For good cause
shoWn, that motion is granted It is hereby ordered that Matthew D. Richardson be admitted
p_r_o hac y_i_oe and may actively participate in this action, including pre-trial and post-trial

proceedings before this court.

IT IS SO ORDERED. IA:

S D. TODD
<Q`ED STATES DIS'I`RICT JUDGE

DATE 7W ;2,§ §§

 

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 58 in
case 1:01-CV-01209 WaS distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

